                             Case 1:25-cv-00977-APM                                  Document 1-1                    Filed 04/02/25                  Page 1 of 1
JS 44 (Rev. 0/16)                                                      CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                          DEFENDANTS
    American Association of People with Disabilities, National Federation of the Blind, Deaf               Social Security Administration, Leland Dudek, in his official capacity as Acting
    Equality, National Committee to Preserve Social Security and Medicare, Massachusetts Senior            Commissioner of Social Security, Department of Goverment Efficiency Service, Amy
    Action Council, Elizabeth Rouse, Treva Olivero, Martha Hazen, Merry Schoch, William Weiss,             Gleason, in her official capacity as Acting Administrator of DOGE, and Elon Musk, in his
    Deja Powell, and Wilshawn Tiller                                                                       official capacity as De Facto Head of DOGE
   (b) County of Residence of First Listed Plaintiff Washington, D.C.                                      County of Residence of First Listed Defendant                Baltimore, MD
                              (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                           NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                      THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                                 Attorneys (If Known)
      Eve L. Hill, Brown, Goldstein & Levy, LLP      Regan Bailey, Justice in Aging
      120 E. Baltimore Street, Suite 2500            1444 Eye Street, N.W., Suite 1100
      Baltimore, MD 21202                            Washington, DC 20005
      (410) 962-1030                                 (202) 289-6976
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                      III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                       (For Diversity Cases Only)                                       and One Box for Defendant)
u 1    U.S. Government              u 3   Federal Question                                                                      PTF        DEF                                         PTF      DEF
         Plaintiff                          (U.S. Government Not a Party)                         Citizen of This State         u 1        u 1     Incorporated or Principal Place      u 4      u 4
                                                                                                                                                     of Business In This State

u 2    U.S. Government              u 4    Diversity                                              Citizen of Another State          u 2    u   2   Incorporated and Principal Place      u 5          u 5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                            of Business In Another State

                                                                                                  Citizen or Subject of a           u 3    u   3   Foreign Nation                        u 6          u 6
                                                                                                    Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                    &OLFNKHUHIRU1DWXUHRI6XLW&RGH'HVFULSWLRQV
          CONTRACT                                           TORTS                                  FORFEITURE/PENALTY                        BANKRUPTCY                   OTHER STATUTES
u 110 Insurance                    PERSONAL INJURY               PERSONAL INJURY                  u 625 Drug Related Seizure          u 422 Appeal 28 USC 158          u 375 False Claims Act
u 120 Marine                     u 310 Airplane               u 365 Personal Injury -                   of Property 21 USC 881        u 423 Withdrawal                 u 376 Qui Tam (31 USC
u 130 Miller Act                 u 315 Airplane Product             Product Liability             u 690 Other                               28 USC 157                       3729(a))
u 140 Negotiable Instrument             Liability             u 367 Health Care/                                                                                       u 400 State Reapportionment
u 150 Recovery of Overpayment u 320 Assault, Libel &                Pharmaceutical                                                      PROPERTY RIGHTS                u 410 Antitrust
      & Enforcement of Judgment         Slander                     Personal Injury                                                   u 820 Copyrights                 u 430 Banks and Banking
u 151 Medicare Act               u 330 Federal Employers’           Product Liability                                                 u 830 Patent                     u 450 Commerce
u 152 Recovery of Defaulted             Liability             u 368 Asbestos Personal                                                 u 840 Trademark                  u 460 Deportation
      Student Loans              u 340 Marine                       Injury Product                                                                                     u 470 Racketeer Influenced and
      (Excludes Veterans)        u 345 Marine Product               Liability                                 LABOR                     SOCIAL SECURITY                      Corrupt Organizations
u 153 Recovery of Overpayment           Liability              PERSONAL PROPERTY                  u 710 Fair Labor Standards          u 861 HIA (1395ff)               u 480 Consumer Credit
      of Veteran’s Benefits      u 350 Motor Vehicle          u 370 Other Fraud                          Act                          u 862 Black Lung (923)           u 490 Cable/Sat TV
u 160 Stockholders’ Suits        u 355 Motor Vehicle          u 371 Truth in Lending              u 720 Labor/Management              u 863 DIWC/DIWW (405(g))         u 850 Securities/Commodities/
u 190 Other Contract                   Product Liability      u 380 Other Personal                       Relations                    u 864 SSID Title XVI                   Exchange
u 195 Contract Product Liability u 360 Other Personal               Property Damage               u 740 Railway Labor Act             u 865 RSI (405(g))               u 890 Other Statutory Actions
u 196 Franchise                        Injury                 u 385 Property Damage               u 751 Family and Medical                                             u 891 Agricultural Acts
                                 u 362 Personal Injury -            Product Liability                    Leave Act                                                     u 893 Environmental Matters
                                       Medical Malpractice                                        u 790 Other Labor Litigation                                         u 895 Freedom of Information
      REAL PROPERTY                  CIVIL RIGHTS              PRISONER PETITIONS                 u 791 Employee Retirement             FEDERAL TAX SUITS                    Act
u 210 Land Condemnation          u 440 Other Civil Rights       Habeas Corpus:                          Income Security Act           u 870 Taxes (U.S. Plaintiff      u 896 Arbitration
u 220 Foreclosure                u 441 Voting                 u 463 Alien Detainee                                                           or Defendant)             u 899 Administrative Procedure
u 230 Rent Lease & Ejectment     u 442 Employment             u 510 Motions to Vacate                                                 u 871 IRS—Third Party                  Act/Review or Appeal of
u 240 Torts to Land              u 443 Housing/                     Sentence                                                                 26 USC 7609                     Agency Decision
u 245 Tort Product Liability           Accommodations         u 530 General                                                                                            u 950 Constitutionality of
u 290 All Other Real Property    u 445 Amer. w/Disabilities - u 535 Death Penalty                       IMMIGRATION                                                          State Statutes
                                       Employment               Other:                            u 462 Naturalization Application
                                 u 446 Amer. w/Disabilities - u 540 Mandamus & Other              u 465 Other Immigration
                                       Other                  u 550 Civil Rights                        Actions
                                 u 448 Education              u 555 Prison Condition
                                                              u 560 Civil Detainee -
                                                                    Conditions of
                                                                    Confinement
V. ORIGIN (Place an “X” in One Box Only)
u 1 Original             u 2 Removed from              u 3       Remanded from               u 4 Reinstated or       u 5 Transferred from     u 6 Multidistrict                  u 8 Multidistrict
    Proceeding               State Court                         Appellate Court                 Reopened                Another District             Litigation -                    Litigation -
                                                                                                                     (specify)                        Transfer                       Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                        29 U.S.C. 794; 5 U.S.C. 702; U.S. Constitution, Amends I and V
VI. CAUSE OF ACTION Brief description of cause:
                                        Discrimination and unlawful agency action by closing offices, cutting staff and instituting policies
VII. REQUESTED IN     u CHECK IF THIS IS A CLASS ACTION                                              DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                               JURY DEMAND:         u Yes     u No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                          DOCKET NUMBER 1:25-cv-00596-ELH
DATE                                                                  SIGNATURE OF ATTORNEY OF RECORD
          04/02/2025
FOR OFFICE USE ONLY

  RECEIPT #                    AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE
